       Case: 1:20-cv-02322-DAR Doc #: 56 Filed: 12/27/23 1 of 3. PageID #: 827

Analects Legal LLC                                                                  1212 S Naper Blvd.,
                                                                                    Suite 119 – PMB 238
                                                                                    Naperville, IL 60540




                                          December 27, 2023

The Honorable David A. Ruiz
Carl B. Stokes United States Courthouse
801 West Superior Avenue
Courtroom 17B
Cleveland, OH 44113
Ruiz_Chambers@ohnd.uscourts.gov


         Re: The NOCO Company v. Aukey Technology Co., Ltd., et al.,
             Case No. 1:20-cv-02322 (N.D. Ohio)

    The Hon. David A. Ruiz:

       This responds to Plaintiff The NOCO Company’s (“NOCO”) December 11 letter
brief as instructed by the Court’s Order dated December 13, 2023. As described below,
the alleged discovery disputes presented in NOCO’s letter brief have largely been
mooted by intervening events. To the extent disputes remain, they are not yet ripe
for resolution because the parties continue to confer and negotiate, including over the
deposition dates, the sufficiency of document production, and the proper scope of the
Rule 30(b)(6) corporate depositions of each side. Moreover, the imminent, unopposed
transition of defense attorneys also counsels tabling any discovery disputes to allow
the new lead defense counsel for Defendants1 to negotiate the outcomes of any
disputes and the schedule they will have to litigate within.

            On December 18, 2023, the undersigned informed NOCO that Analects
             Legal LLC intended to withdraw as counsel for Defendants and sought
             NOCO’s consent. (Ex. 1 – Email Chain between P. Curtin and K. Stroup, et
             al., dated 12/18-19/2023 at 3-4.)

            On December 19, 2023, NOCO indicated that it did not oppose the Motion
             for Leave to Withdraw. ( Id. at 1-2.)

            On December 19, 2023, the undersigned filed their Unopposed Motion for
             Leave to Withdraw as Counsel. (Doc. 54.)


1
  The defendants in this action are the Aukey Technology Co., Ltd., Shenzhenshi Jiangyun Shangmaoyouxiangongsi
(“HuiMing”), and Wodeshijikeji Shenzhen Youxiangongsi (“WorldUS”).
     Case: 1:20-cv-02322-DAR Doc #: 56 Filed: 12/27/23 2 of 3. PageID #: 828

Analects Legal LLC                                               1212 S Naper Blvd.,
                                                                 Suite 119 – PMB 238
                                                                 Naperville, IL 60540

         On December 20, 2023, Defendants served on NOCO’s counsel individual
          Notices of Deposition on three NOCO fact witnesses. (See Ex. 2 – Email
          from P. Curtin to K. Stroup, dated 12/20/2023.)

         On December 21, 2023, counsel for the parties met and conferred regarding
          the upcoming transition of defense counsel, scheduling issues, and the
          upcoming deadlines. (See Ex. 3 – Email from K. Stroup to P. Curtin dated
          12/21/2023.)

         Also on December 21, 2023, Defendants served their Objections and
          Responses to NOCO’s Rule 30(b)(6) Notice of Deposition dated November
          10, 2023. (See Ex. 4 – Email from P. Curtin to K. Stroup dated 12/21/2023.)

         On December 22, 2023, Defendants served their Rule 30(b)(6) Notice of
          Deposition on The NOCO Company (See Ex. 5 – Email from P. Curtin to K.
          Stroup dated 12/22/2023.)

         Also on December 22, 2023, Defendants filed their Unopposed Motion to
          Stay Case Deadlines Pending Transition of Defense Counsel. (Doc. 55.)

         Defendants will provide Supplemental Responses to NOCO’s First Set of
          Requests for Admission (through current counsel) and will do so by
          January 12, 2024.

       That being said, Defendants disagree with NOCO’s presentation of the facts
and characterization of the disputed issues in the December 11 letter brief, which
presents a selective and misleading picture of the course and conduct of discovery.
Defendants’ objections, when posed, have been merited, and Defendants have
consistently fulfilled their discovery obligations and provided more discovery, and
earlier, than NOCO has provided in return. Moreover, although NOCO requested the
most recent discovery extension, its actions effectively ensured the parties would not
complete fact discovery by January 3, 2024.

       For example, NOCO waited until November 10, 2023, more than five weeks
into its requested extension, before serving supplemental initial disclosures,
supplemental interrogatory responses, a discovery deficiency letter, and its proposed
Rule 30(b)(6) Notices of Deposition on Defendants. (See Ex. 6 – Email from K. Stroup
to P. Curtin dated 11/10/2023.) When NOCO surprised Defendants with this flurry of
activity, just over seven weeks remained for fact discovery, a period encompassing
the Thanksgiving, Christmas and New Years Day holidays.

      Further, NOCO has complained about the timing of Defendants’ document
production in its recent filings, but NOCO first produced documents on November 22,

                                          2
     Case: 1:20-cv-02322-DAR Doc #: 56 Filed: 12/27/23 3 of 3. PageID #: 829

Analects Legal LLC                                              1212 S Naper Blvd.,
                                                                Suite 119 – PMB 238
                                                                Naperville, IL 60540

2023 (the day before Thanksgiving). (See Ex. 7 – Email from K. Stroup to P. Curtin,
dated 11/22/2023.) NOCO’s document production arrived more than a year after
Defendants’ Requests for Production — propounded on November 6, 2022 (see Ex. 8
– Letter from P. Curtin to J. Pinney, et al., dated 02/10/2023 at 1) — and just six
weeks before the fact discovery deadline. Based on Aukey’s initial review, NOCO’s
document production seems very limited, and includes no financial documents or
information (sales, costs, profits, etc.) relevant to damages. The parties have
discussed, but have never finalized the details of, an exchange of relevant summary
financial information.

      For the reasons described above, and further described in Defendants’ pending
unopposed motions (Docs. 54-55), Defendants respectfully urge the Court to table the
discovery issues raised in NOCO’s December 11, 2023 discovery letter and, to the
extent those issues are not moot, take them up again after Defendants’ new lead
defense counsel have appeared and they, along with any other discovery disputes,
have crystallized.


                                             Respectfully submitted,

                                             /s/ Peter J Curtin

                                             Peter J. Curtin
                                             Partner, Analects Legal LLC




                                         3
